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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  TERRE HAUTE DIVISION

 UNITED STATES OF AMERICA,                         )
      Plaintiff,                                   )
                                                   )
        vs.                                        )     2:11-cr-9-JMS-CMM
                                                   )
 CHAD NOBLE,                                       )     -05
      Defendant.                                   )


                                              ORDER

        Following his drug-conspiracy conviction, Defendant Chad Noble moves for acquittal

 under Fed. R. Crim. Proc. 29, and, in the alternative, for a new trial pursuant to Fed. R. Crim.

 Proc. 33. [Dkt. 602.]

        “Rule 29 does not authorize the judge to play thirteenth juror. A judgment of acquittal

 should be entered only if there is insufficient evidence to sustain the jury’s findings. Under this

 standard, a trial judge should reverse a jury verdict only if, viewing the evidence in the light most

 favorable to the prosecution, the record contains no evidence on which a rational jury could have

 returned a guilty verdict.” United States v. Murphy, 406 F.3d 857, 861 (7th Cir. 2005) (quotation

 and citation omitted). Given that deferential standard of review to the jury’s verdict, a defendant

 mounting a Rule 29 challenge “faces a nearly insurmountable hurdle.” United States v. Teague,

 956 F.2d 1427, 1433 (7th Cir. 1992).

        While Mr. Noble acknowledges the foregoing standard at the outset of his motion, the

 argument that follows ignores it, instead arguing the evidence in the light most favorable to him.

 Noble’s argument asserts that rather than prove he was a co-conspirator with Greg Miller, the

 evidence simply established that he sold Greg Miller significant quantities of methamphetamine

 on multiple occasions. He invokes the “buyer-seller” line of cases in seeking relief.
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         In response the Government sets forth a five page summary of the facts proved at trial,

 which the Court finds to be an accurate summary, and which the Court incorporates here. [Dkt.

 611.] This evidence meets many of the criteria established by the Seventh Circuit as sufficient

 to prove a co-conspirator relationship, as opposed a mere seller relationship. Miller and Noble

 engaged in large quantity sales under a fronting arrangement on multiple occasions; they advised

 each other on the conduct of the others business; there were warnings of future threats to each

 other’s business and apprehension stemming from arrests of co-conspirators by law enforcement

 authorities. They socialized with each other and their children. Miller bonded Noble out of jail

 and saw to it that money was placed in his commissary account while Noble was incarcerated.

 Miller loaned Noble money, on one occasion $5000. This evidence was a sufficient basis on

 which to convict Mr. Noble of conspiracy. See United States v. Johnson 592 F.3d at 755-56; and

 United States v. Colon, 549 F.3d 565, 568 (7th Cir. 2008).

         In sum, the Court finds that the Government produced more than enough evidence both

 to support the jury’s verdict and to ensure that the interests of justice are met. Accordingly, un-

 der both Federal Rules of Criminal Procedure 29 and 33, Mr. Noble’s motion [dkt. 602] is DE-

 NIED.


            12/27/2012
                                                  _______________________________

                                                    Hon. Jane Magnus-Stinson, Judge
                                                    United States District Court
                                                    Southern District of Indiana




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